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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

WILLIAM TRIER, et al

                  Plaintiff(s),                       CASE NUMBER 17-10236
v.
                                                      HON. GEORGE CARAM STEEH
GENESEE COUNTY, et al
                                                      MAG. JUDGE ANTHONY PATTI
              Defendant(s).
__________________________________/


                                       SCHEDULING ORDER


                 YOU WILL RECEIVE NO FURTHER NOTICE OF THESE DATES


          Witness Lists Filed By:                     Plaintiff’s expert: 1/3/18
                                                      Defendant’s expert: 1/18/18
                                                      Lay: 1/31/18

          Discovery Cutoff:                           3/30/18

          Stipulation for Case Evaluation due:         --------

          Dispositive Motions due:                    5/15/18

          Final Pretrial Order due:                   9/17/18

          Final Pretrial Conference:                  9/24/18 at 10:00 a.m.

          Trial Date:                                 10/16/18 at 9:00 a.m.

          Estimated Length of Trial                    30 days     (half days)

                                              JURY Trial



       *The court adopts and incorporates the parties’ Discovery Plan, [Doc. #70] to the extent it is
not inconsistent with the dates set forth above.
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I.          Computation of time under this order and under any notice of any scheduling order or
            notice in this cause shall be in conformity and accordance with Federal Rule of Civil
            Procedure 6(a).

II.         DISCOVERY. This Court will not order discovery to take place subsequent to the
            discovery cutoff date. Parties may agree to extend the discovery and dispositive
            motion deadlines including an explanation for the request, by submitting a proposed
            stipulated order to the Court. The Court may adjust the remaining dates accordingly.
            Local Rule 26.2 generally prohibits filing discovery materials with the Clerk. Violation
            of this rule may result in sanctions.

            The court adheres to the model order relating to the discovery of electronically stored
            information (ESI) and expects the parties to follow the model order at their Rule 26(f)
            discovery conference, if applicable.

III.        WITNESSES. The deadline for exchange of witness lists refers to all witnesses, lay
            and expert.

IV.         DISPOSITIVE MOTIONS. When filing motions for summary judgment, parties shall
            proceed in accordance with the following:

            A.     Before filing a motion for summary judgment or responding to such a motion,
                   the parties are urged to familiarize themselves with Celotex Corp. v. Catrett,
                   477 U.S. 317 (1986), Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986),
                   and Matsushita Electric Industrial Co., Ltd. v. Zenith Radio Corp., 475 U.S.
                   574 (1986). An excellent summary of these cases appears in Street v. J.C.
                   Bradford & Co., 886 F.2d 1472 (6th Cir. 1989). See also Schwarzer,
                   Summary Judgment under the Federal Rules: Defining Genuine Issues of
                   Material Fact, 99 F.R.D. 465 (1984).

            B.     Facts stated in the statement of material facts must be supported with
                   citations to either the pleadings, interrogatories, admissions, depositions,
                   affidavits, or documentary exhibits.

            C.     Counsel are discouraged from employing elaborate boilerplate recitations of
                   the summary judgment standard or lengthy string citations in support of well
                   established legal principles. Instead, counsel should focus their analysis on a
                   few well chosen cases, preferably recent and from controlling courts. Where
                   unpublished opinions or opinions published only in a specialty reporter are
                   cited, copies of the cases must be submitted along with the brief.

            D.     A party must obtain leave of court to file more than one motion for summary
                   judgment. For example, a challenge to several counts of a complaint
                   generally must be in a single motion. Local Rule 7.1(b)(2)

            E.     A courtesy copy of all pleadings exceeding 20 pages is required (with exhibits
                   securely fastened)

V.          STIPULATION FOR MEDIATION must be submitted by the date set. Referral to
            mediation panel will be made following receipt of the stipulation.

VI.         ORAL ARGUMENT ON MOTIONS. Attorneys who do not respond to motions in a
            timely fashion will not be permitted to argue before the Court during oral argument.

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VII.        FINAL PRETRIAL CONFERENCE AND FINAL PRETRIAL ORDER. The Court has
            established a date for a final pretrial conference. Following is the procedure counsel
            are to utilize to prepare for the final pretrial conference and the final pretrial order:

            A.     Counsel for all parties are directed to confer in person (face to face) at their
                   earliest convenience in order to (1) reach any possible stipulations narrowing
                   the issues of law and fact, (2) deal with non-stipulated issues in the manner
                   stated in this paragraph and (3) exchange documents that will be offered in
                   evidence at the trial. It shall be the duty of counsel for plaintiff to initiate that
                   meeting and the duty of other counsel to respond to plaintiff's counsel and to
                   offer their full cooperation and assistance. If, after reasonable effort, any
                   party cannot obtain the cooperation of other counsel, it shall be his or her duty
                   to communicate with the Court. Counsels' meeting shall be had sufficiently in
                   advance of the date of the scheduled Conference with the Court so that
                   counsel for each party can furnish all other counsel with a statement of the
                   real issues the party will offer evidence to support, eliminating any issues that
                   might appear in the pleadings about which there is no real controversy and
                   including in such statement issues of law as well as ultimate issues of fact
                   from the standpoint of each party. Counsel for plaintiff then will prepare a
                   draft final pretrial order and submit it to opposing counsel, after which all
                   counsel will jointly submit1 the proposed order by electronic filing on the date
                   fixed for submission. All instructions contained within this order must be
                   followed carefully; they will be binding on the parties at trial. If there are any
                   pending motions requiring determination in advance of trial,2 they should
                   specifically be called to the Court's attention not later than the date of
                   submission of the final pretrial order.

                   The final pretrial order should provide for the signature of the Court, which,
                   when signed, will become an Order of the Court. A PAPER JUDGE’S COPY
                   IS TO BE SUBMITTED TO CHAMBERS IMMEDIATELY AFTER E-FILING.

                   The proposed pretrial order shall strictly comply with the provisions and
                   requirements of Local Rule 16.2, except as this Court may otherwise provide.

            B.     Parties shall attend the final pretrial conference along with the attorneys who
                   will try the case. Those attorneys will familiarize themselves with the pretrial
                   rules and will come to the conference with full authority to accomplish the
                   purposes of Rule 16 (including simplifying the issues, expediting the trial and
                   saving expense to litigants). Counsel shall be prepared to discuss
                   compromise settlement possibilities at the conference without the necessity of
                   obtaining confirmatory authorization from their clients. Parties themselves
                   must attend the final pretrial conference unless the Court has agreed to other
                   arrangements prior to the date of the conference.




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VIII.        At least ONE WEEK prior to beginning of trial all counsel shall furnish to the court the
             following:

             A.     In jury cases, any requests for VOIR DIRE, proposed JOINT JURY
                    INSTRUCTIONS and a proposed JOINT VERDICT FORM. In jury cases, the
                    parties are hereby ordered to meet and confer prior to trial to discuss jury
                    instructions. No later than one week prior to the first day of trial, the
                    parties are to file with the court a single complete set of proposed,
                    stipulated jury instructions and verdict form (in paper and e-mailed to
                    Chambers or on computer disc). All such instructions are to be typewritten
                    and double spaced and shall contain references to authority (e.g., "Devitt and
                    Blackmar, Section 11.08"). In addition, each party shall separately file any
                    additional proposed instructions to which any other party objects. The parties
                    must make a concerted, good faith effort to narrow the areas of dispute and to
                    discuss each instruction with a view to reaching agreement as to an
                    acceptable form.

             B.     In non-jury cases, proposed FINDINGS OF FACT and CONCLUSIONS OF
                    LAW.

             C.     A statement of claims or defenses, no longer than two pages, suitable to be
                    read to the jury during opening instructions.

IX.          ITEMS FILED UNDER SEAL. Pursuant to Local Rule 5.3, items filed under seal
             must be retrieved by counsel within 60 days after final judgment or appellate
             mandate, or the Court will order such items filed in the public case file.

X.           FILING BY ELECTRONIC MEANS - EXCEPTION TO LOCAL RULE 5.1.1. A paper
             copy of electronically filed motions, briefs, attachments, responses, replies, proposed
             Final Pretrial Order, and Proposed Jury Instructions (with disc) MUST be delivered
             to the Court and labeled Judge’s Copy.




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                              LR 16.2 Joint Final Pretrial Order

(a) Joint Final Pretrial Order. The parties shall furnish a joint final pretrial order in every
civil case at, or if the judge requires, before the final pretrial conference.

      (NOTE: THIS COURT REQUIRES THAT THE JOINT FINAL PRETRIAL
      ORDER BE FURNISHED AT LEAST ONE WEEK BEFORE THE TIME SET
      FOR THE FINAL PRETRIAL CONFERENCE.)

This joint final pretrial order shall fulfill the parties' disclosure obligations under Fed.R.Civ.P.
26(a)(3), unless the Judge orders otherwise. All objections specified in Rule 26(a)(3) shall
be made in this order. Counsel for plaintiff(s) or a plaintiff without counsel shall convene a
conference for all parties to confer and collaborate in formulating a concise joint final pretrial
order. Counsel for plaintiff(s) or a plaintiff without counsel shall compile the order. Counsel
for all parties and any party without counsel shall approve and sign the order. Counsel for
plaintiff(s) or a plaintiff without counsel shall submit an original and one copy of the order to
the assigned Judge for approval and adoption. The order shall provide for the signature of
the Court and, when signed and filed in the Clerk's Office, becomes an order of the Court,
superseding the pleadings and governing the course of trial unless modified by further order.
The pretrial order shall not be a vehicle for adding claims or defenses. The order will not be
filed in the Clerk's Office until the Judge has signed it.

(b) Contents of Order. The joint final pretrial order shall contain, under numbered and
captioned headings, the following:

     (1) Jurisdiction. The parties shall state the basis for Federal Court jurisdiction and
whether jurisdiction is contested by any party.

      (2) Plaintiffs' Claims. The statement of the claim or claims of plaintiffs shall
include legal theories.

       (3) Defendants' Claims. The statement of the defenses or claims of defendants, or
third parties, shall include legal theories.

     (4) Stipulation of Facts. The parties shall state, in separately numbered
paragraphs, all uncontested facts.

      (5)   Issues of Fact to be Litigated.

      (6)   Issues of Law to be Litigated.

      (7) Evidence Problems Likely to Arise at Trial. Include objections to exhibits and
to the use of deposition testimony, including the objections required under Fed.R.Civ.P.
26(a)(3). The order shall list all motions in limine of which counsel or a party without counsel
should reasonably be aware.

     (8) Witnesses. Each party shall list all witnesses whom that party will call and all
witnesses whom that party may call. This listing shall include, but is not limited to, the

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disclosures required under Fed.R.Civ.P. 26(a)(3)(A) and (B). A party may, without further
notice, call a witness listed by another party as a "will call" witness. Except as permitted by
the Court for good cause a party may not list a witness unless the witness was included on a
witness list submitted under a prior order or has been deposed. The list shall state whether
the witness is an expert and whether testimony will be offered by deposition. Only listed
witnesses will be permitted to testify at trial, except for rebuttal witnesses whose testimony
could not be reasonably anticipated before trial, or except for good cause shown. The
provisions of Fed.R.Civ.P. 37(c)(1) shall apply to a failure to list a witness.

      (9) Exhibits.3 The parties shall number and list, with appropriate identification, each
exhibit, including summaries, as provided in Fed.R.Civ.P. 26(a)(3)(C). Objections to listed
exhibits must be stated in the joint pretrial order. Only listed exhibits will be considered for
admission at trial, except for rebuttal exhibits which could not be reasonably anticipated
before trial, or except for good cause shown. The provisions of Fed.R.Civ.P. 37(c)(1) shall
apply to a failure to list an exhibit.

    (10) Damages. The parties shall itemize all claimed damages and shall specify
damages that can be calculated from objective data. The parties shall stipulate to those
damages not in dispute.

      (11) Trial.

            (A) Jury or non-jury.

            (B) Estimated length of trial.

      (12) Settlement. Counsel or a party without counsel shall state that they have
conferred and considered the possibility of settlement, giving the most recent place and
date, and state the current status of negotiations and any plans for further discussions.
They may state that they wish the Court to schedule a settlement conference.

(c) Failure to Cooperate. For failure to cooperate in preparing or submitting the joint final
pretrial order or failure to comply strictly with the terms of the joint final pretrial order, the
Court may dismiss claims, enter default judgment, refuse to permit witnesses to testify or to
admit exhibits, assess costs and expenses, including attorney fees, or impose other
appropriate sanctions.

(d) Filing of Trial Briefs, Findings and Instructions. The joint final pretrial order shall
further provide that trial briefs, proposed findings of facts and conclusions of law in non-jury
cases shall be filed on the first day of trial.

      (NOTE: MOTIONS IN LIMINE DUE TWO WEEKS PRIOR TO TRIAL DATE.
      THIS COURT REQUIRES THAT TRIAL BRIEFS, PROPOSED FINDINGS OF
      FACT AND CONCLUSIONS OF LAW IN NON-JURY CASES, OR PROPOSED
      JOINT JURY INSTRUCTIONS AND A VERDICT FORM IN JURY CASES
      SHALL BE FILED ONE WEEK PRIOR TO THE TRIAL.

      DEPOSITIONS MUST BE PURGED WITHIN ONE WEEK PRIOR TO TRIAL;

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        OBJECTIONS TO DEPOSITIONS WAIVED UNLESS RAISED BY MOTION
        PRIOR TO TRIAL.)

(e) Additional Requirements. A Judge, in an appropriate case, may add additional
requirements to the joint final pretrial order, or may suspend application of this Rule, in
whole or in part.

(f)  Juror Costs Attributable to Parties. Each party shall also acknowledge that the
Court may assess juror expenses under LR 38.3.


                                                     s/GEORGE CARAM STEEH
                                                     U.S. District Judge



Dated: October 25, 2017


1. Counsel for plaintiff has primary responsibility for preparation of the final pretrial order and, in that respect,
for its submission to opposing counsel in ample time for revision and timely filing. Nonetheless, full
cooperation and assistance of all other counsel are required for proper preparation of the final pretrial order
and must therefore be extended.

2. This includes motions in limine, disputes over specific jury instructions or the admissibility of any evidence
at trial upon which the parties desire to present authorities and argument to the Court.

3. COMMENT: Under LR 16.2(b)(9), any objections based on foundation or authenticity will be deemed
waived if not raised before trial.




1/17




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                            HONORABLE GEORGE CARAM STEEH
                              UNITED STATES DISTRICT JUDGE
                                231 WEST LAFAYETTE #238
                                    DETROIT MI 48226
                            PHONE 313-234-5175 FAX 313-234-5364

                                 CLERK: MARCIA BEAUCHEMIN

STANDING ORDERS   Scheduling conferences held after answer filed, depending on nature of case and
                  scheduling order issued.
                  Motion practice governed by provisions in the scheduling order.

CONFERENCES       Status conference held as needed or requested.
                  Settlement conference held upon request and as scheduled by the court prior to trial.

REMOVAL           Court will issue an order to show cause if removal appears inappropriate based upon the
                  pleadings. Generally no oral argument on motion to remand.

MOTIONS           Hearings held when requested by parties and/or as court determines appropriate.
                  Proposed orders are to be submitted electronically.
                  Strict compliance required with LR7.1 and 65.1.

TRO/INJUNCTION    Court rarely grants ex parte requests.
                  Follow requirements in LR 7.1 and 65.1.

DISCOVERY         Additional conferences scheduled upon request.
                  Witness lists must be exchanged 30 days prior to discovery cut-off.
                  Discovery motions frequently referred to magistrate judge.

MEDIATION         Civil cases referred after discovery cut-off and parties are encouraged to stipulate in writing
                  to be bound by mediation sanctions. It is not necessary, however, that sanctions be included
                  in the stipulation.

PRETRIAL          Proposed Joint Final pretrial order due one week before final pretrial conference.
                  Witnesses may only be added to final pretrial order by stipulation of parties and leave of
                  court. All witnesses must be listed in final pretrial order.
                  Final pretrial conference held usually two weeks prior to trial, parties and/or persons with
                  settlement authority must be present. Proposed jury instructions due at conference.
                  File motions in limine no later than two weeks prior to trial.

TRIAL             Marked exhibits are to be exchanged three (3) days prior to trial.
                  Benchbook of exhibits required.
                  If trial briefs are requested by the court, they must be filed and exchanged one (1) week prior
                  to trial.
                  Usually held 9 am to 5 pm daily, except trials expected to last more than two weeks will run
                  from 9 am to 1 pm.. All persons must be PROMPT.

NON-JURY          Submit proposed findings of fact/conclusions of law, one (1) week prior to trial.

JURY              Voir Dire by Court and counsel. Submit proposed voir dire in writing, in advance.
                  Joint proposed jury instructions and verdict form due one week before trial.
                  Judge’s courtesy paper copy required and should be e-mailed to court.

CRIMINAL          Court will consider Alford and nolo contendere pleas.
                  Presentence Reports required. Rule 11 please routinely taken under advisement pending
                  court review of presentence report.

                  Note: Because of the substantial costs incurred in convening jurors, all counsel are advised
                  that juror costs will be assessed in civil cases which settle on day of jury selection/trial.




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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION


                         Plaintiff(s),
                                                                  Case No.
vs.
                                                                  HON. GEORGE CARAM STEEH
                                                                  United States District Judge

                    Defendant(s).
______________________________________/


                           STIPULATED REQUEST FOR CASE EVALUATION

         The undersigned hereby request that this case be referred for case evaluation to

the Wayne County Mediation Tribunal. The parties agree to be bound by the provisions of the alternative

dispute resolution rule contained in Michigan Court Rule 2.403 including sanctions relating to costs and

attorney fees as provided by such rule.



Dated:                                                   s/ NAME OF FILING USER
                                                         Attorney for _______________________________
                                                         Firm Name (If applicable)
                                                         Street Address
                                                         City, State, Zip Code
                                                         Telephone Number
                                                         Primary Email Address
                                                         Attorney Bar No.

                                                         s/ WITH CONSENT OF NAME OF FILING USER
                                                         Attorney for
                                                         Firm Name (If applicable)
                                                         Street Address
                                                         City, State, Zip Code
                                                         Telephone Number
                                                         Primary Email Address
                                                         Attorney Bar No.

                                                         s/ WITH CONSENT OF NAME OF FILING USER
                                                         Attorney for _____________________________
                                                         Firm Name (If applicable)
                                                         Street Address
                                                         City, State, Zip Code
                                                         Telephone Number
                                                         Primary Email Address
                                                         Attorney Bar No.




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                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF MICHIGAN
                                            SOUTHERN DIVISION


                            Plaintiff(s),
                                                                     Case No.
vs.
                                                                     HON. GEORGE CARAM STEEH
                                                                     United States District Judge

                    Defendant(s).
______________________________________/



                                            ORDER FOR FACILITATION

        The parties having agreed with the approval of the Court that this case be submitted to facilitation,
IT IS ORDERED THAT:

         1.                                        is appointed Facilitator in this matter.

         2.       The Facilitator shall be paid at the rate of $             per hour, with the parties
                  dividing the costs equally.

         3.       The Facilitation shall take place on                           at
                                                                                 .

         4.       The following persons shall be present:
                  A.       Attorneys in principal charge of the case;
                  B.       Plaintiff(s);
                  C.       Defendant(s);
                  D.       Representatives of the parties with complete settlement authority.

         5.       Oral or written statements made for or during facilitation by anyone are inadmissible
                  in any evidentiary proceeding. The facilitator may not be called to testify about the
                  facilitation.




Attorney for Plaintiff(s)                                            Attorney for Defendant(s)




                                                             _________________________________
Dated:                                                       GEORGE CARAM STEEH
                                                             United States District Judge




                                                                                      Scheduling Order / Page 10
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OAO 85 (Rev. 8/98) Notice, Consent, and Order of Reference — Exercise of Jurisdiction by a United States Magistrate
Judge

                                    UNITED STATES DISTRICT COURT
                                           Eastern District of Michigan

                                                               NOTICE, CONSENT, AND ORDER OF REFERENCE
                    Plaintiff(s),                              EXERCISE OF JURISDICTION BY A UNITED
                                                               MAGISTRATE JUDGE
vs.
                                                               Case No.
                    Defendant(s).                              HON. GEORGE CARAM STEEH



                NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                 TO EXERCISE JURISDICTION

       In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United
States magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury
or nonjury trial, and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however,
permitted only if all parties voluntarily consent.
        You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s
jurisdiction from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties
consenting or withholding consent will not be communicated to any magistrate judge or to the district judge to whom
the case has been assigned.
      An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of
appeals for this judicial circuit in the same manner as an appeal from any other judgment of this district court.


  CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
         In accordance with provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have
a United States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a
final judgment, and conduct all post-judgment proceedings.

            Party Represented                                      Signatures                                  Date




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                                          ORDER OF REFERENCE
       IT IS ORDERED that this case be
United States Magistrate Judge, to conduct all proceedings and order the entry of judgment in accordance with 28
U.S.C. §636(c) and Fed.R.Civ.P. 73.


        Date                                             United States District Judge

NOTE:       RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE
CONSENTED
      ON THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.




                                                                                  Scheduling Order / Page 12
